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case 2:05-cv-02096-JPl\/l-dkv Documema Filed 06/30/05 Pagelof? lF>a"g<‘~:+L'Iita”é

 

 

 

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IN THE UNITED STA'I‘ES DISTRICT COURT ' ‘
FOR THE WES'I‘ERN DISTRICT OF TENNESSEE 05 JU~ 30 FH _
wEsTERN DIvISIoN 'I' l'l
m WOMA.SM_
X W/D CF IN, MIZMHM
JAMES DIRKANS, X
X
Plaintiff, l
X
vs. l No. 05-2096-Ml/V
X
BILLY TURNER, et al., X
l
Defendants. X
X
ORDER OF DISMISSAL
ORDER CER'I‘IFYING APPEAL NOT TAKEN IN GOOD FAI'I‘H
AND
NOTICE OF APPELLATE FILING FEE
Plaintiff James Dirkans, Tennessee Department of

Correction (“TDOC") prisoner number 320684, who was, at the time he
commenced this action, an inmate at the West Tennessee State
Penitentiary (“WTSP”) in Henning, Tennessee, filed a p;g §§
complaint pursuant to 42 U.S.C. § 1983 on January 14, 2005, along

with an application seeking leave to proceed ig forma pauperis. The

 

Court issued. an order on. February 24, 2005, denying leave to
proceed ig §g;mg pauperis and directing the Plaintiff to remit the
then-applicable $150 civil filing fee within thirty days. Plaintiff
paid the filing fee on March 17, 2005. The Court issued an order on
April 25, 2005, directing the Plaintiff to submit another copy of

his Complaint bearing his original signature. Plaintiff complied

Th!s document entered on the docket s§?ee{t ln compliance
with Ru!e 58 and/or 79(3) FRCP on

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with that order on May 3, 2005, and the Clerk docketed the signed
version of the Complaint on May 13, 2005. The Clerk shall record
the Defendants as Case Manager Billy Turner, WTSP Warden David
Mills, and TDOC Commissioner Quenton White.
I. Analvsis of Plaintiff's Claims

The Complaint alleges that Defendant Turner failed to
protect the Plaintiff from assault by a gang of inmates. Defendants
White and ]Hills are sued for failing to adequately train and
monitor the competence of prison staff and for failing to provide
a sufficient level of staffing to ensure the safety of inmates.

The Sixth Circuit has held that 42 U.S.C. § 1997e(a)
requires a federal court to dismiss a complaint without prejudice
whenever a prisoner brings a prison conditions clain\ without
demonstrating that he has exhausted his administrative remedies.
Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); see Porter v.
Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA's exhaustion
requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and
whether they allege excessive force or some other wrong.”); §ggph
v. Churner, 532 U.S. 731 (2001) (prisoner seeking only' money
damages must exhaust administrative remedies although damages are
unavailable through grievance system). This requirement places an
affirmative burden on prisoners of pleading particular facts

demonstrating the complete exhaustion of claims. Knuckles El v.

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Toombs, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the
mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted.by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding

and its outcome.
ldp at 642; see also Boyd v. Corrections Corp. of Am., 380 F.3d
989, 995-96 (6th Cir. 2004) (describing the standard for
demonstrating exhaustion when prison officials fail to respond in
a timely manner to a grievance), cert. denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who
fails to allege exhaustion adequately may not amend his complaint
to avoid a ppg sponte dismissal); Curry v. Scott, 249 F.3d 493,
503-04 (6th Cir. 2001) (no abuse of discretion for district court
to dismiss for failure to exhaust when plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise
demonstrate exhaustion). Furthermore, § 1997(e) requires the
prisoner to exhaust his administrative remedies before filing suit
and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th
Cir. 1999). Finally, the Sixth Circuit recently held that district
courts are required to dismiss a complaint in its entirety,

pursuant to 42 U.S.C. § 1997e(a), that contains any unexhausted

claims. Jones Bev v. Johnson, No. 03-2331, 2005 WL 1120283, at *3*

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*6 (6th. Cir. Apr. 27, 2005) (to be published in the Federal
Reporter).

In this case, the Plaintiff submitted. a copy of a
grievance that he filed on or about August 26, 2004, (Grievance No.
29215) against Defendant Turner concerning the events that are the
subject to this lawsuit. After a hearing, the grievance committee
recommended that Turner’s supervisor review with him the
appropriate procedures for responding to situations in which there
is a threat to an inmate’s physical safety. The warden agreed with
the proposed response on September 14, 2004, and Plaintiff did not
appeal to the TDOC. Even if it is assumed that the Plaintiff has
exhausted his claim against Defendant Turner, he has not filed a
grievance naming Defendants Mills and White, as required by Moorer
v. Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff
did not exhaust claim against warden because his grievance did not
identify the warden or articulate any claim against her); Thomas v.
Woolum, 337 F.3d 720, 733-34 (6th Cir. 2003); and gpp;y, 249 F.3d
at 504.

The Sixth Circuit has stated that “[a] plaintiff who
fails to allege exhaustion of administrative remedies through
‘particularized averments' does not state a claim on which relief

may be granted, and his complaint must be dismissed sua sponte.”

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Baxter, 305 F.3d at 489.1 Pursuant to the recent decision in gppg§
§§y, a district court must dismiss any complaint that contains
unexhausted claims rather than attempting to sever the exhausted
claims. The facts of Jones Bey, and the separate opinion by Judge
Clay, suggest that this principle applies even when the claims
against some defendants have been completely exhausted. 2005 WL
1120283, at *10. Accordingly, the Court DISMISSES the Complaint in
its entirety, without prejudice, pursuant to 42 U.S.C. § 1997e(a).
II. Appeal Issues

The next issue to be addressed is whether Plaintiff
should be allowed to appeal this decision i_p ;o_r_np pauperis.
Twenty-eight U.S.C. § l915(a)(3) provides that an appeal may not be
taken pp fp£pa pauperis if the trial court certifies in writing
that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ;dp Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip fp;pa pauperis.
See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983).

The same considerations that lead the Court to dismiss this case

 

1 As the Sixth Circuit explained, “If the plaintiff has exhausted his

administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run.” Id.

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also compel the conclusion that an appeal would not be taken in
good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3)r that any appeal in this matter by Plaintiff is not
taken in good faith and Plaintiff may not proceed on appeal pp
§pppg pauperis.

The final matter to be addressed is the assessment of a
filing fee if Plaintiff appeals the dismissal of this case.2 In
McGore v. Wriqqlesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the Plaintiff is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § l915(b).

IT Is so oRDERED this \ELJ day of June, 2005.

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”V§§¢ PHIPPS MccALLA
i ITED sTATEs DISTRICT JUDGE

 

 

2 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, L l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon. the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

28 U.S.C. § 1917.

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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July ], 2005 to the parties listed.

 

 

J ames Dirkans

SOUTH CENTRAL CORRECTIONAL CENTER
#320684

P.O. Box 279

Clifton7 TN 38425--027

Honorable J on McCalla
US DISTRICT COURT

